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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 16-cv-81871 MARRA/

    LAN LI, an individual; YING TAN, an individual;
    TAO XIONG, an individual; et al.

           Plaintiffs,

    vs.

    JOSEPH WALSH, et al.,

         Defendants.
    ________________________________/

           DEFENDANTS’ ALI HERISCHI AND HERISCHI & ASSOCIATES, LLC’S
               MOTION TO COMPEL ARBITRATION, OR ALTERNATIVELY,
              MOTION TO DISMISS OR FOR MORE DEFINITE STATEMENT1

           Defendants Ali Herischi and Herischi & Associates, LLC (collectively the “Herischi

    Defendants”), move to compel arbitration pursuant to the arbitration clause contained in

    the Engagement Agreements between the parties and to dismiss the Complaint because

    its allegations are directly contradicted, and therefore precluded, by the terms of the

    Engagement Agreements between the parties. Alternatively the Herischi Defendants move

    to dismiss the Complaint filed against them for failure to state a claim, or, in the alternative,

    for a more definite statement.

           The Plaintiffs in this case are investors from Iran and China who invested $500,000

    in the Palm House Hotel project through the Immigrant Investor Program, more commonly

    known as the EB-5 program, through the South Atlantic Regional Center, LLC (“SARC”).

    The Iranian investors hired the Herischi Defendants to prepare the necessary legal


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                   As permitted by Local Rule 5.1(a) and (b), this Motion has been submitted
    with 1.5 line spacing in order to comply with the page limitations imposed by Local Rule
    7.1(c)(2). A substantively identical copy with 2.0 line spacing is attached as Exhibit 1
    hereto for the Court’s convenience.

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    documents to facilitate their investment and apply for the EB-5 Visa. When the Iranian

    investors’ applications were denied and their investment was not returned by the Palm

    House Hotel Project, as the Offering Documents stated that it would be, in an effort to find

    some way to recover their investments, the Plaintiffs have brought suit against thirty-three

    separate Defendants, including the Herischi Defendants.

           The Iranian investors pursue claims against the Herischi Defendants despite the fact

    that the allegations of the Complaint directly conflict with the plain terms of their

    Engagement Agreements with the Herischi Defendants, and the fact that the Engagement

    Agreements require that any such claims be brought in arbitration. Moreover, as set out

    in detail herein, even if the Plaintiffs’ claims against the Herischi Defendants were not

    barred by the express terms of the Engagement Agreements, the Plaintiffs’ Complaint fails

    on its own terms. The Complaint contains no specific allegations against the Herischi

    Defendants, but rather it lumps them together with numerous other Defendants. In addition

    to these pleading deficiencies, each of the Plaintiffs’ individual claims fails on substantive

    grounds as well.

                               I. BRIEF FACTUAL BACKGROUND

           1.     The Plaintiffs filed their Complaint on November 14, 2016. (ECF No. 1.) The

    Complaint is ninety-nine pages long, and consists of twenty-eight separate counts, against

    thirty-three Defendants. (Id.) Thirty of the Defendants, including the Herischi Defendants,

    Ali Soltani, and Washington Marketing, LLC, are lumped together and referred to

    collectively throughout the Complaint as the “Bad Actors.” (Id. at p. 4.)

           2.     The five Plaintiffs from Iran, Mohammad Zargar, Shahriar Ebrahimian, Reza


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    Simak Nia, Sarah Salehin and Sanaz Salehin (hereinafter the “Iranian Plaintiffs”), hired the

    Herischi Defendants to provide specifically enumerated legal services,2 pursuant to an

    Engagement Agreement. The Engagement Agreement defined the legal services to be

    provided as follows:



                  1-       If required, apply to acquire a license from Office of
                           Foreign Asset Control (OFAC) for an Iranian to invest in
                           a Regional Center.

                  2-       Open necessary bank accounts to accommodate the
                           money transfer, including an escrow account.

                  3-       File applicable USCIS forms for the applicant and
                           his/her family in regards to the EB-5 application. Client
                           has chosen South Atlantic Regional Center for his
                           investment.

                  4-     Facilitate the return of the investment to the investor
                         upon the distribution by the Regional Center.
                                                ...
                  Note. This Engagement letter does not cover the removal of
                  condition after two years of residency.

    (Engagement Agreement, ECF No. 1-39, at pp. 26-27.)

           3.     While the Plaintiffs have attached an unexecuted version of the Engagement

    Agreement as part of Exhibit F to the Complaint, they have not attached the executed

    versions, although they exist. Executed copies of four of the five Engagement Agreements


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                   There is no allegation in the Complaint that the Herischi Defendants, Ali
    Soltani, or Washington Marketing, LLC had any interactions with, or made any
    representations to, the Chinese Defendants. Indeed, it is hard to imagine how fifty-three
    (53) Plaintiffs with whom the Herischi Defendants have never had any contact can have
    claims against the Herischi Defendants. Indeed, this is not a Class Action and each
    individual Plaintiff must have his own, separate basis for each claim against these
    particular Defendants.

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    are attached hereto as Composite Exhibit 2. The Herischi Defendants do not have in their

    possession the executed version of the Engagement Agreement for Reza Simak Nia,

    although it was executed in Ali Herischi’s presence. (See Herischi Declaration, attached

    as Exhibit 3.)

           4.        The Engagement Agreement with each of the Iranian Plaintiffs specifically

    precludes the key allegation in the Complaint that the Iranian Plaintiffs invested in the

    project “in reliance on the Offering Documents and the oral representations [made by the

    Herischi Defendants].” (See e.g. Compl., ECF No. 1, ¶ 128.) Indeed, the Engagement

    Agreement provides, specifically:

                     The firm is not retained to provide investment advice. We are
                     working with Client to evaluate the Regional Center business
                     opportunity, but limited to the Immigration laws governing the
                     EB-5 application. Our scope of engagement does not cover
                     any investment advice or evaluation of an investment
                     opportunity. We are not responsible for client’s business
                     decision. The firm does not and never have guaranteed any
                     investment outcome. In addition, the Eb-5 application’s
                     approval is also not guaranteed by our firm.

    (ECF No. 1-39, Ex. F, at p. 27) (see also Ex. 2, at p. 2.)

           5.        Not only do the express terms of the Engagement Agreement bar the

    substantive causes of action raised in the Plaintiffs’ Complaint against the Herischi

    Defendants, but they also bar litigation in this forum. Indeed, the Engagement Agreement

    has an express, and expansive, arbitration clause as follows:

                     Any dispute or claim relating to our fees, charges, legal
                     services, obligations reflected in this letter, or any other aspect
                     of our representation shall be resolved through a confidential,
                     binding arbitration, in the state of Maryland, before a single
                     arbitrator under Commercial Rules then in effect of American
                     Arbitration Association, and judgment on the award rendered

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                     may be entered in any court having jurisdiction. You agree
                     that commitment here to arbitrate any and all disputes
                     relinquishes any right to bring an action in court and that you
                     are waiving right to a jury trial.

    (Id. at p. 4.)

            6.       Nevertheless, the Iranian Plaintiffs bring numerous claims here in Federal

    Court against the Herischi Defendants as a result of the allegedly false and misleading

    investment advice that the Herischi Defendants expressly told the Plaintiffs that they were

    not engaged to give. Moreover, with respect to the Herischi Defendants, there are few

    allegations specific to them, and as set out in detail below, the Complaint simply attempts

    to impute the conduct of each Defendant to all of the remaining Defendants. This is not

    permissible. Each of the Plaintiffs must allege with respect to each of the Defendants what

    actions that particular Defendant took that caused it an actionable injury under state or

    Federal law. As set out in detail below, the Plaintiffs’ Complaint comes nowhere near

    meeting this burden. For this, and other reasons discussed below, the entire Complaint

    must be dismissed with respect to the Herischi Defendants.

                                     II. MEMORANDUM OF LAW

            A.       Motion to Compel Arbitration.

            Contractual arbitration provisions are favored, and are regularly and routinely

    enforced. Section 2 of the Federal Arbitration Act provides that “a contract evidencing a

    transaction involving commerce to settle by arbitration a controversy thereafter arising out

    of such contract or transaction . . . shall be valid, irrevocable, and enforceable, save upon

    such grounds as exist at law or in equity for the revocation of any contract.” 9 U.S.C. § 2.

    The United States Supreme Court has found that this Act evidences a strong and liberal

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    policy favoring the enforcement of arbitration provisions. Moses H. Cone Mem. Hosp. v.

    Mercury Constr. Corp., 460 U.S. 2, 24 (1983). Thus, any doubts concerning the scope of

    an arbitration clause should be resolved in favor of arbitration. Volt Info. Sciences, Inc. v.

    Bd. of Trs. of Leland Stanford Junior Univ., 489 U.S. 468, 476 (1989).

            Arbitration provisions are contractual in nature, and thus construction of such

    provisions and the contracts that contain them “remains a matter of contract interpretation.”

    Seifert v. U.S. Home Corp., 750 So. 2d 633, 637 (Fla. 1999)(citing Seaboard Coast Line

    R.R. v. Trailer Train Co., 690 F.2d 1343, 1352 (11th Cir.1982)). Courts have found that

    where, as here, the parties agree to a broad arbitration clause that clause should be

    enforced broadly. For example, in Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S.

    395, 398 (1967), the Court determined that an arbitration clause providing for arbitration

    of “[a]ny controversy or claim arising out of or relating to this Agreement” was broad

    enough to encompass even claims of fraud in the inducement of the entire contract.

    Similarly here, the Engagement Agreements’ arbitration clause states that it applies

    broadly to “[a]ny dispute or claim relating to our fees, charges, legal services, obligations

    reflected in this letter, or any other aspect of our representation.” (ECF No. 1-39, Ex. F,

    at p. 29) (see also Ex. 2 at p. 4) (emphasis supplied). The Engagement Agreement goes

    on to provide that the Iranian Plaintiffs agree that their commitment to arbitrate

    “relinquishes any right to bring an action in court and that you are waiving right to a jury

    trial.” (Id.)

            The Engagement Agreements’ arbitration provision should be enforced and this

    entire action against the Herischi Defendants should be dismissed in favor of “a biding


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    arbitration, in the state of Maryland, before a single arbitrator under Commercial Rules then

    in effect of American Arbitration Association.” (Id.)

           B.      The Express Terms of the Iranian Plaintiffs’ Engagement Letter
                   Preclude the Claims Raised against Herischi and Herischi &
                   Associates.

           Even if the Court declines to enforce the broad Arbitration provision contained in the

    Engagement Agreements, the Plaintiffs’ claims are barred by the express, written terms

    of the Engagement Agreements themselves. “[A] written exhibit attached to a pleading

    becomes part of the pleadings.” Fed. R. Civ. P. 10(c); Taylor v. Appleton, 30 F.3d 1365,

    1368 (11th Cir. 1994); Grossman v. Nationsbank, N.A., 225 F.3d 1228, 1231 (11th Cir.

    2000). Where the terms of the attached document conflict with the allegations of the

    Complaint, “the exhibit prevails.” Fayetteville Investors v. Commercial Builders, Inc., 936

    F.2d 1462, 1465 (4th Cir. 1991)(citing 2A Moore’s Federal Practice ¶ 10.06, p. 10-24).

    Moreover, where a plaintiff refers to certain documents in the complaint and those

    documents are central to the plaintiff’s claims, then the Court may consider those

    documents as part of the pleadings for the purpose of a Rule 12(b)(6) dismissal without

    converting the Motion into one for summary judgment. Day v. Taylor, 400 F.3d 1272 (11th

    Cir. 2005). Here, the Iranian Plaintiffs rely upon the fiduciary relationship they allege exists

    between themselves and the Herischi Defendants. (See, e.g., Compl., ECF No. 1, ¶ 269,

    referring to Herischi’s “fiduciary duty to be a neutral attorney to the Iranian [Plaintiffs]”; id.,

    ¶¶ 349-50 referring to the Herischi Defendants as “attorneys and advisors” and pointing

    to the “fiduciary relationship” between the Herischi Defendants and the Iranian Plaintiffs.)

    This fiduciary relationship is created and defined in the Engagement Agreement. Indeed,


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    the Engagement Agreement is so central to the Iranian Plaintiffs’ claims that they attach

    an unexecuted copy of it to the Complaint. The Iranian Plaintiffs cannot avoid the

    implications of the binding agreement they signed by simply attaching the unexecuted,

    rather than the executed version.

           Because the Court may consider the Engagement Agreements, the Iranian Plaintiffs’

    reliance on any representation inconsistent with the plain terms of the Engagement

    Agreement is unreasonable as a matter of law. Garcia v. Santa Rmaria Resort, Inc., 528

    F. Supp. 2d 1283, 1295 (S.D. Fla. 2007) (dismissing fraud claims where plaintiff’s reliance

    upon statements which were at variance with the written documents were not reasonable

    as a matter of law). As set out above the Engagement Agreements specifically disclaim

    the Herischi Defendants’ knowledge of or responsibility for providing any information or

    advice related to the Iranian Plaintiffs’ investment in the Palm House Project. (ECF No.

    1-39, Ex. F, at p. 31) (see also Ex. 2.) In light of the Herischi Defendants’ and the Iranian

    Plaintiffs’ explicit agreement that the Herischi Defendants were to take no role in advising

    the Plaintiffs on their investments, the Iranian Plaintiffs cannot now sue the Herischi

    Defendants based upon the advice that the Herischi Defendants allegedly gave to the

    Iranian Defendants on their investments. This fundamental allegation underlies each and

    every claim brought against the Herischi Defendants and, thus, the entire Complaint should

    be dismissed out of hand for failure to state a claim based upon the express contradiction

    between the allegations of the Plaintiffs’ Complaint and the documents attached thereto.

           C.     Motion to Dismiss for Failure to State a Claim.

           The purpose of Rule 12(b)(6) of the Federal Rules of Civil Procedure is to test the


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    facial sufficiency of the Complaint. Vernon v. Med. Mgmt. Assocs. of Margatge, Inc., 912

    F. Supp. 1549, 1553 (S.D. Fla. 1996). Rule 8(a)(2) of the Federal Rules of Civil Procedure

    requires that, to be facially sufficient, a pleading contain “a short and plain statement of the

    claim showing the pleader is entitled to relief.” While detailed factual allegations supporting

    a plaintiff’s claim is not required, a complaint must contain enough factual matter that the

    claim stated is “plausible” on its face. Ashcroft v. Igbal, 556 U.S. 662, 678 (2009) (citing

    Bell Atlantic Corp. v. Twombly, 550 U.S. 554, 570 (1986)). Indeed, Rule 8 demands more

    than an “unadorned” accusation that a defendant has unlawfully harmed the plaintiff. Id.

           “Indiscriminately lumping defendants together” violates the pleading requirements

    contained in Rule 8. See George & Co. LLC v. Alibaba.com, Inc., No. 2:10-cv-719-Ftm-

    29DNF, 2011 WL 6181940, at *2 (M.D. Fla. Dec. 13, 2011); see also Kolmat Do Brasil,

    LDTA v. Evergreen United Invs., LLC, No. 14-81320-CIV, 2015 WL 3606277, at * 4 (S.D.

    Fla. Jun. 8, 2015) (Marra, J.) (“The [complaint] has failed to allege a specific

    misrepresentation (or omission) made by Mariani as distinct from a misrepresentation

    made by another Defendant.”); Bruhl v. Price Waterhousecoopers Int’l, No. 03-23044-Civ-

    MARRA, 2007 WL 997362, at *4 (S.D. Fla. Mar. 27, 2007) (“Because Plaintiffs fail to

    differentiate between CGL and CFS, and do not expressly allege any of the necessary

    elements of a securities fraud claim listed above as being committed by CGL, the

    [complaint] does not comply with Federal Rules of Civil Procedure 8(a), 9(b), and the

    Private Securities Litigation Reform Act and therefore fails on its face to state a primary

    violation of 10(b) against CGL.”); Lane v. Capital Acquisitions & Mgmt., Co., No. 04-60602,

    2006 WL 4590705, at *5 (S.D. Fla. Apr. 14, 2006) (“By lumping all the defendants together


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   in each claim and providing no factual basis to distinguish their conduct, the [ ] complaint

   fails to satisfy the minimum standard of Rule 8.”)           Failure to identify the conduct

   complained of by each Defendant, fails to give each Defendant the required “fair notice”

   of the nature of the claim and the “grounds” on which the claim rests. George & Co., 2011

   WL 6181940, at *2 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 n.3 (2007)).

   Indeed, such pleading does not allow the individual defendants to “determine from the face

   of the Complaint [the] acts or omissions [for which] the Plaintiffs seek to hold each of them

   liable.” Lane, 2006 WL 4590705, at *5.

          Dismissal is the appropriate remedy for a violation of Rule 8. Pro Image Installers,

   Inc. v. Dillon, No. 3:08cv273/MCR/MD, 2009 WL 112953, at *2 (N.D. Fla. Jan 15, 2009)

   (citing Atuahene v. Hartford, 10 F. App’x 22, 34 (2d Cir. 2001)). Indeed, dismissal is

   “especially” appropriate where, “the plaintiff attempts to hold one defendant liable for the

   acts of other defendants . . . .”      Id. The Complaint lumps thirty of the thirty-three

   Defendants together and refers to them collectively as the so-called “Bad Actors” and

   lumps them together for nearly all intents and purposes throughout the Complaint. Indeed

   the overall description of the scheme set out in the Complaint’s introductory paragraphs

   does not mention either of the Herischi Defendants once. This fatal pleading deficiency

   infects the entire Complaint and each and every count against these Defendants should

   be dismissed as a result. Additionally, as set out in detail below, each individual Count

   raised by the Plaintiffs against these Defendants is substantively deficient as well.3



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                Counts II, IV, VI, VIII, IX, XI, XV, XXII, XXIII, XXIV are not brought against the
   Herischi Defendants and are, therefore, not addressed herein.

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                  1.      Counts I and Count XIX - Plaintiffs’ Claims for Equitable Relief in the
                          Form of Injunctive Relief and an Equitable Accounting.

          The flaws associated with lumping Defendants are particularly egregious in Counts

   I and XIX. While Count I is brought against “All Defendants,” the allegations in Count I

   focus on Defendant Walsh. Indeed, Defendant Walsh’s name is mentioned repeatedly in

   Count I and Defendants Herischi and Ali Soltani are mentioned once where the Complaint

   alleges, with no specifics, “Walsh Stole Plaintiffs’ property from the Escrow Account and

   transferred it to the Second PNC Account and the Evans Account for distribution among

   his conspirators, the Bad Actors, which include . . . . Ali Herischi, Ali Soltani . . . and entities

   they own and/or control.” (Compl., ECF No. 1, at ¶ 276.) There are no specific allegations

   as to what was allegedly transferred to these Defendants. Even more strikingly, the

   Herischi Defendants are not even mentioned at all in the Equitable Accounting claim

   contained in Count XIX.

          Of course, equitable relief, such as that requested in Counts I4 and XIX, is only

   available where there is no adequate remedy at law and irreparable harm will occur absent

   the injunction. Weaver v. Fla. Power & Light Co., 172 F.3d 771, 773 (11th Cir. 1999)(citing

   Rosen v. Cascade Int’l Inc., 21 F.3d 1520, 1527 (11th Cir. 1994)).5 Cases, such as this,


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                   A party seeking a preliminary injunction must establish: (1) a substantial
   likelihood of success on the merits; (2) that an irreparable injury will be suffered absent an
   injunction; (3) that the threatened injury to the movant outweighs the damage the injunction
   will cause to the opposing party; and (4) that the injunction would not be adverse to the
   public interest. Pine v. City of West Palm Beach, Fla., 762 F.3d 1262, 1268 (11th Cir.
   2014) (quoting Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000)).
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                 Indeed, where an equitable accounting is sought along with damages “a claim
   for equitable accounting should be dismissed where the evidentiary facts alleged in a
   complaint show neither complexity nor inadequacy of legal remedy.” See e.g. Managed

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   where the remedy sought is money damages, fall within the general rule - “that a court may

   not reach a defendant’s assets unrelated to the underlying litigation and freeze them so

   that they may be preserved to satisfy a potential money judgment.” In re Fredeman Litig.,

   843 F.2d 821, 824 (5th Cir 1988). Here, as demonstrated by the numerous legal claims

   brought, the Plaintiffs seek money damages and thus have an adequate remedy at law.

          Because the Plaintiffs cannot demonstrate the irreparable harm required for

   injunctive relief, they attempt to rely upon Florida Statute § 812.035(1) and (6) – Florida’s

   RICO statute. The Plaintiffs rely upon the section in § 812.035 (6) that allows for injunctive

   relief upon a “showing of immediate danger of significant loss or damage” if the injunctive

   relief is not granted. However, nowhere in this Count, or elsewhere in the Complaint, do

   the Plaintiffs even attempt to plead a cause of action under Florida’s civil theft or RICO

   statutes. While the Plaintiffs have attempted to plead a cause of action under the Federal

   RICO statute in Counts XXVII and XXVIII, the Federal RICO statute does not provide for

   the private remedy of injunctive relief. See Religious Tech. Ctr. v. Wollersheim, 796 Fo.2d

   1076, 1980-89 (9th Cir. 1986) (interpreting the legislative history of the federal RICO

   statute as foreclosing injunctions for private plaintiffs); see also In re Fredeman Litig., 843

   F.2d 821, 830 (5th Cir.1988) (“We find the analysis contained in the Wollersheim opinion

   persuasive . . . . We need not decide, however, whether all forms of injunctive or other

   equitable relief are foreclosed to private plaintiffs under RICO.”); but see Nat’l Org. for



   Care Solutions, Inc. v. Essent Healthcare, Inc., 694 F. Supp. 2d 1275, 1279-80 (S.D. Fla.
   2010) (citing Fla. Software Sys. Inc. v. Receivable Dynamics Inc., 46 F. Supp. 2d 1276,
   1285-86 (M.D. Fla. 1999); Chiron v. Isram Wholesale Tours & Travel Ltd., 519 So. 2d
   1102, 1103 (Fla. 3d DCA 1988)).

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   Women, Inc. v. Scheidler, 267 F.3d 687, 695 (7th Cir. 2001) (“We are persuaded instead

   that the text of the RICO statute, understood in the proper light, itself authorizes private

   parties to seek injunctive relief.”) rev’d Scheidler v. Nat’l Org. for Women, Inc., 537 U.S.

   393, 397 (2003) (reversing the injunction “without reaching the question of the availability

   of private injunctive relief under 1964(c) of RICO.”).6

          Count I seeks dramatic relief, beyond anything permitted by the law the Plaintiffs

   cite. For example, the Plaintiffs request “that the Court freeze any accounts in which the

   Bad Actors and/or any entity they own and/or control has an interest, and impose by

   temporary and permanent injunctive relief a constructive trust upon the proceeds of

   Walsh’s illegal conduct . . .” (Compl., ECF No. 1, at p. 57.) There simply is no authority for

   the incredibly broad request that the Court enjoin any accounts “in which the Bad Actors

   and/or any entity they own and/or control has an interest.” (Compl. ECF No. 1, at p. 57.)

          Finally, to the extent that the Plaintiffs seek a constructive trust, their claim fails

   because Plaintiffs have not identified any specific res that can be held by the Herischi

   Defendants - indeed the Plaintiffs have not identified any specific transfer of funds to the

   Herischi Defendants. Rather than identifying a specific res, the Plaintiffs seem to seek the

   imposition of a constructive trust on all assets owned by all Defendants, as well as all

   assets held by entities that these Defendants own or control. This the law does not permit.

   Trend Setter Villas of Deer Creek v. Villas on the Green, Inc., 569 So. 2d 766, 768 (Fla.



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                  18 U.S.C. § 1964(b) reads: “The Attorney General may institute proceedings
   under this section. Pending final determination thereof, the court may at any time enter
   such restraining orders or prohibitions, or take such other actions, including the acceptance
   of satisfactory performance bonds, as it shall deem proper.”

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   4th DCA 1990) (“A constructive trust may only be imposed where the res is specific

   identifiable property or can be clearly traced in assets of the defendant which are claimed

   by the party seeking relief.”).

                 2.         Count III - Plaintiffs’ Conversion Claim.

          Conversion is the wrongful deprivation of an owner’s property, either permanently

   or for an indefinite period of time. Senfeld v. Bank of Nova Scotia Trust Co. (Cayman) Ltd.,

   450 So. 2d 1157, 1161 (Fla. 3d DCA 1984). A conversion cannot occur until there is a

   “present intent on the part of the wrongdoer to deprive the person entitled to possession

   of the property.” Id. This present intent is often, but not always, shown by “demand and

   refusal” to return the property, because “[w]here a person having a right to possession of

   property makes demand for its return and the property is not relinquished, a conversion

   has occurred.”     Id.     The Plaintiffs have not alleged how the Herischi Defendants

   intentionally converted each of the Plaintiffs’ property to their own use. The Plaintiffs claim

   that “[m]any of the Plaintiffs have made a demand for the return of their property.” (Compl.,

   ECF No. 1, ¶ 300.) However, the Plaintiffs fail to identify which Plaintiffs made the demand

   and to which Defendants the demands were made.                  It is impossible, therefore, to

   determine the Herischi Defendants’ alleged liability as this Count is plead.

          Moreover, the documents attached to the Complaint are inconsistent with the

   allegations of demand. The letter attached as Exhibit N to the Complaint demonstrates Mr.

   Herischi’s intent to return the entirety of the $40,000 per application that he received as a

   benefit from this project. (ECF No. 1-47.) Indeed, Mr. Herischi states as follows:

                 I want to return to you and other clients the finder’s fee I
                 received from the Palm ($40,000). I have borrowed funds from

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                 my family to make a first installment of $20,000 and have
                 enclosed a check in that amount. I hope to pay the balance of
                 $20,000 soon and am working to borrow additional funds for
                 that purpose.

   (Id.)7 As set out in detail above, where the documents attached to the Complaint conflict

   with the Plaintiffs’ allegations, the documents control. Fayetteville Investors v. Commercial

   Builders, Inc., 936 F.2d 1462, 1465 (4th Cir. 1991)(citing 2A Moore’s Federal Practice ¶

   10.06, pp. 10-24). Here, there has been no specific allegation of demand and refusal as

   to the Herischi Defendants, and any such allegation, or allegation that a demand would be

   futile, is precluded by the documents attached to the Complaint.

                 3.     Counts V and VII - Plaintiffs’ Fraud Claims.

          As set out above, the allegations raised in these fraud counts are specifically

   precluded by the terms of the Iranian Plaintiffs’ Engagement Agreements. See supra

   §II(B). Even if they were not, however, the allegations raised in the fraud Counts herein

   fall woefully short of the pleading requirements for such claims under the Federal Rules

   of Civil Procedure. Indeed, Rule 9(b) requires that all actions for fraud be pleaded with

   “particularity.” Fed. R. Civ. P. 9(b). “The particularity rule serves an important purpose in

   fraud actions by alerting defendants to the ‘precise misconduct with which they are

   charged’ and protecting defendants ‘against spurious charges of immoral and fraudulent

   behavior.’” Ziemba v. Cascade Int’l., Inc., 256 F.3d 1194, 1202 (11th Cir. 2001).

          Rule 9(b) is only satisfied if the Complaint sets forth all of the following:

                 (i)    precisely what statements were made in what document


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                  Mr. Herischi has since made the second, $20,000 payment to each of the five
   Iranian Plaintiffs.

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                         or oral representations or what omissions were made;

                 (ii)    the time and place of each representation or omission
                         and the person responsible for making (or, in the case
                         of omissions, not making) same;

                 (iii)   the content of such statements and the manner in which
                         they misled the plaintiff; and

                 (iv)    what the defendants obtained as a consequence of the
                         fraud.

   Brooks v. Blue Cross & Blue Shield of Fla., Inc., 116 F.3d 1364, 1371 (11th Cir. 1997).

   Here, the Plaintiffs indiscriminately lump thirty (30) of the Defendants, including the

   Herischi Defendants, together as alleged “Bad Actors” in the preliminary allegations, which

   are then incorporated by reference into each count of the Complaint.

          In the Counts themselves, the Plaintiffs allegations are almost as vague. For

   example Count V alleges that the Herischi Defendants, along with Ali Soltani and

   Washington Marketing, LLC, “adopted and sold the representations in the Offering

   Documents when selling the Palm House Hotel project to the Iranian [Plaintiffs],” (Compl.,

   ECF No. 1, ¶ 313), and that they “made knowingly false oral statements concerning

   material facts when they sold the Palm House Hotel project to the Iranian [Plaintiffs] (id.

   ¶ 314). Similarly, in Count VII the Plaintiffs refer to various allegedly false statements that

   “SARC, USREDA, Walsh, Walsh Jr., Payne” and the Herischi Defendants collectively

   made to the Iranian Plaintiffs. (Id. ¶ 327-28.)

          The allegations of the Complaint fall woefully short of the heightened pleading

   requirements for fraud under the Federal Rules. Indeed, under Rule 9(b) the Plaintiffs

   must allege the who, what, when, where, and how of the alleged false statements and not


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   simply allege generally that those statements were made. Mizzaro v. Home Depot, Inc.,

   544 F.3d 1230, 1237 (11th Cir. 2008). There is simply no separation throughout the

   Complaint as to who made any particular statement, who the statement was made to, and

   when such statement was made. As a result, these claims fail and must be dismissed.

                 4.      XVI, XXV, and XXVI - Plaintiffs’ Claims for Violation of the Federal
                         and State Securities Laws.

          Again, even if the Plaintiffs’ claims were not barred by the explicit terms of the

   Engagement Agreements, and even if those claims did not fail for failure to plead securities

   fraud with particularity as required by Rule 9(b),8 Plaintiffs’ cause of action for securities

   fraud still fails because the Herischi Defendants cannot be held responsible for their role

   in providing traditional legal services in the transactions.

          In Bailey v. Trenam Simmons, Kemker, Scharf, Barkins Freye & O’Neill, P.A. 938

   F. Supp. 825 (S.D. Fla. 1996), securities investors brought an action against a law firm

   claiming that the law firm made false statements of fact and omitted material facts in

   connection with the sale of securities. The court held that the “only basis of liability would

   be a finding that Defendant was an agent of [the Seller] with respect to the sale of

   securities to Plaintiffs” and that it “personally participated or aided in making the sale,” Id.

   at 828. (internal citations omitted). The court noted that liability for securities fraud could


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                 The allegations here are even more deficient. While Rule 9(b) allows
   allegations of scienter to be made generally, the Federal Securities laws require more.
   Indeed, here the Plaintiffs have the burden of pleading facts from which a reasonable
   person would deem the inference of scienter cogent and at least as compelling as any
   opposing inference one could draw from the facts alleged. Tellabs, Inc. v. Makor Issues
   & Rights, Ltd., 551 U.S. 308, 324 (2007); Mizzaro v. Home Depot, Inc., 544 F.3d 1230,
   1237 (11th Cir. 2008). Here, the allegations of knowledge and intent do not come close
   to meeting this burden.

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   not be based merely on the basis of substantial participation in the transaction. Id. The

   court concluded that the defendant must be shown to have provided more than standard

   legal services in order to impose liability as an agent under Fla. Stat. § 517.211. Id. See

   also Bennett v. Durham, 683 F.3d 734 (6th Cir. 2012) (holding that the attorney who

   provided legal advice in connection with issuance and sale of oil-and-gas-exploration

   securities did not “offer or sell a security” as required to impose liability under Kentucky

   Securities Act; attorney drafted and distributed investment documents, made himself

   available to answer questions from prospective investors and represented clients in

   enforcement proceedings).

          The allegations of the Complaint fail to provide any information as to how the

   Herischi Defendants, who provided legal services to the Plaintiffs, personally participated

   or aided in the making of the sale of securities. As such, the Counts XVI, XXV, and XXVI

   should be dismissed.

                 5.     Counts XII, XIII, and XIV - Plaintiffs’ Fraudulent Transfer Claims.

          The Plaintiffs’ three separate claims for Avoidance of Alleged Fraudulent Transfers,

   contained in Counts XII, XIII and XIV should be dismissed because they fail to identify a

   single specific transfer made to the Herischi Defendants and do not allege that the Herischi

   Defendants are insiders. Here, again, the Plaintiffs do not even mention the Herischi

   Defendants individually, but rather they impermissible lump these Defendants together with

   the remaining Defendants.       Failure to allege a specific transfer that was allegedly

   fraudulent is fatal to the Plaintiffs’ claims. In re Stewart, 280 B.R. 268, 286 (Bktcy, M.D.

   Fla. 2001) (complaint failed to state a claim where “[n]owhere in the Complaint does [the


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   plaintiff] allege that an identifiable asset was transferred on a specific date pursuant to a

   specific transfer.”) As a result, the fraudulent transfer claims should be dismissed.

                 6.     Counts X and XXI - Plaintiffs’ Claims for Breach of Fiduciary Duty and
                        Constructive Fraud.

          The Iranian Plaintiffs’ Claims for breach of fiduciary duty, contained in Count X, and

   constructive fraud (or abuse of a fiduciary relationship), contained in Count XXI, must be

   dismissed pursuant to the express terms of the Engagement Agreements between the

   parties. Indeed, under Maryland law, which governs the relationship between the Herischi

   Defendants an the Plaintiffs, fiduciary duties can be modified and defined by contract. See

   e.g. Clancy v. King, 954 A.2d 1092, 1100 (Md. 2008). Here, the scope of the Engagement

   Agreement, which defined the rights and duties between the parties, specifically sets out

   the scope of the engagement and provides “The firm is not retained to provide investment

   advice. . . . We are not responsible for the Client’s business decision.” (ECF No. 1-39, Ex.

   F, at p. 31) (see also Ex. 2.) Thus here, the Plaintiffs’ claims to recover for breach of

   fiduciary duty based on investment advice are barred because the fiduciary relationship

   between the parties was expressly limited to exclude a fiduciary relationship with respect

   to advice relating to the Plaintiffs’ business investment.9

                 7.     Count VII - Plaintiffs’ Unjust Enrichment Claim.

          The elements of a cause of action for unjust enrichment are: “(1) [the] plaintiff has

   conferred a benefit on the defendant, who has knowledge thereof; (2) the defendant



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                To the extent that Count XXI is brought by the Chinese Plaintiffs against the
   Herischi Defendants, no fiduciary relationship between the Chinese Plaintiffs and the
   Herischi Defendants has been alleged at all, nor could it be.

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   voluntarily accepts and retains the conferred benefit; and (3) the circumstances are such

   that it would be inequitable for the defendant to retain the benefit without paying the value

   thereof to the plaintiff.” Extraordinary Title Servs., LLC v. Fla. Power & Light, Co., 1 So.

   3d 400, 404 (Fla. 3d DCA 2009). In Count XVII, the Plaintiffs have not alleged any of these

   elements specifically against either of the Herischi Defendants. Indeed, the Herischi

   Defendants have had no contact at all with the vast majority of these Plaintiffs. Count XVII

   should be dismissed for failure to comply with the pleading requirements imposed by the

   Federal Rules of Civil Procedure.

                 8.     Count XVIII - Plaintiffs’ FDUTPA Claim.

          Not only does the Plaintiffs’ claim under Florida’s Deceptive and Unfair Trade

   Practices Act (“FDUTPA”) fail to separate the actions taken by the individual Defendants,

   in violation of Federal Rule of Civil Procedure 8(a), it also fails to allege conduct occurring

   in Florida. FDUTPA applies only to actions that occurred within the state of Florida.

   Consequently, Plaintiffs’ claim that Defendants violated FDUTPA must be based entirely

   on actions that occurred within Florida, and Plaintiffs cannot proceed on this claim based

   on actions that occurred outside of the state of Florida. Carnival Corp. v. Rolls-Royce PLC,

   No. 08-23318-CIV-SEITZ, 2009 WL 3861450 (S.D. Fla. Nov.17, 2009)(citing Millennium

   Comms. & Fulfillment, Inc. v. Offices of Attorney Gen., 761 So. 2d 1256, 1262 (Fla. 3d

   DCA 2000) (stating that purpose of FDUTPA is to prohibit unfair and deceptive practices

   which have transpired within the territorial boundaries of the state of Florida)).

          The Plaintiffs in this case are foreign nationals who reside in either Iran or China.

   (Compl., ECF No. 1, ¶ 30.) The Herischi Defendants are residents of Maryland. (Id. ¶ 42.)


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   There are no allegations of any conduct taken by the Herischi Defendants in the State of

   Florida. Accordingly, the Plaintiffs’ FDUTPA claim should be dismissed “with leave to re-

   plead to specify the location of the conduct to make certain it occurred within the territorial

   boundaries of Florida.” Five for Entertainment S.A. v. Rodriguez, 877 F. Supp. 2d 1321,

   1330-31 (S.D. Fla. 2012).10 Given the respective residencies of the parties, it is likely,

   however, that no such amendment is possible.

                 9.     Count XX - Plaintiffs’ Claim for Civil Conspiracy.

          To prevail on a claim for civil conspiracy, the Plaintiffs must show that: (1) two or

   more defendants conspired; (2) to do an unlawful act, that at least one of the defendants

   did some overt act in pursuit of the conspiracy; and (4) that the plaintiff was damaged as

   a result of the acts performed pursuant to the conspiracy. Charles v. Fla. Foreclosure

   Placement Ctr., LLC, 988 So. 2d 1157 (Fla. 3d DCA 2008). The Plaintiffs’ claim for Civil

   Conspiracy contained in Count XX should be dismissed because the underlying torts the

   Plaintiffs plead to support the Civil Conspiracy claim fail to state a cause of action, as set

   forth in detail herein. Estate of Scutieri v. Chambers, 386 Fed. Appx. 951, 954 (11th Cir.

   2010) (quoting Liappas v. Augoustis, 47 So. 2d 582, 582-83 (Fla. 1950)) (“it is generally

   held that an act which constitutes no ground of action against one person cannot be made



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                   It appears that the Plaintiffs also seek to recover damages that are not
   recoverable under FDUTPA. Even if the Plaintiffs were able to state a claim under
   FDUTPA – they are not – they would only be entitled to recover “the difference in the
   market value of the product or service in the condition it was delivered and its market value
   in the condition in which it should have been delivered according to the contract of the
   parties.” Smith v. 2001 S. Dixie Highway, Inc., 872 So. 2d 992, 994 (Fla. 4th DCA 2004)
   (internal quotations and citations omitted). Damages in the form of a refund of the
   Plaintiffs’ investment is not recoverable under FDUTPA. See id.

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   the basis of a civil action for conspiracy.”) If there is no underlying tort, there can be no

   conspiracy to commit the tort. Id.

                 10.    Counts XXVI and XXVIII - Plaintiffs’ Civil RICO Claims.

          To recover on a Federal RICO claim, the plaintiff must allege that a Defendant: (1)

   operated or managed (2) an enterprise (3) through a pattern (4) of racketeering activity that

   included at least two racketeering acts.” Ray v. Spirit Airlines, 836 F.3d 1340, 1348 (11th

   Cir. 2016). A RICO plaintiff must also show “(1) the requisite injury to ‘business or

   property,’ and (2) that such injury was ‘by reason of’ the substantive RICO violation.” Id.

   (quoting Williams v. Mohawk Indus., Inc., 465 F.3d 1277, 1282-83 (11th Cir. 2006)). Under

   RICO, the connection between racketeering activity and the injury cannot be remote, purely

   contingent, or indirect. Id. at 1350. There must be some direct relation between the

   conduct and the injury to sustain a claim. Id. The fact that an injury is reasonably

   foreseeable is not sufficient to establish proximate cause in a RICO action - the injury must

   be direct. Id. Plaintiffs do not adequately plead a RICO claim here. Indeed, as was the

   case in Ray, the Plaintiffs simply allege that they were harmed and recite a “‘[t]hreadbare

   recital[] of the elements of a cause of action, supported by mere conclusory statements’

   which is plainly insufficient to support a cause of action.” Id. (citing Ashcroft v. Iqbal, 556

   U.S. 662, 678 (2009)).

          The allegations in the Complaint, none of which are specific to the Herischi

   Defendants, fall far short of the pleading requirements of rule 9(b), which likewise apply to

   a RICO claim, such as this one, predicated on fraud. Ray, 836 F. 3d at 1347 n.1. As this

   Court stated in Associated Industries Ins. Co., Inc. v. Advanced Management Services,


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   Inc., 12-80393-CIV, 2014 WL 1237685, at *5 (S.D. Fla. Mar. 26, 2014) (Marra):

                 To survive a motion to dismiss, RICO claims based solely on
                 fraud-related predicate acts, such as mail and wire fraud, must
                 be plead with particularity. To plead fraud with particularity, as
                 stated above, a civil RICO plaintiff must allege as to each
                 defendant: (1) the precise statements, documents or
                 misrepresentations made; (2) the time, place and person
                 responsible for the statements; (3) the content and manner in
                 which these statements misled the plaintiffs, and (4) what the
                 defendants gained by the alleged fraud. Fed. R. Civ. P. 9(b).

   In this case, the RICO claims, like the fraud claims, are alleged against a large group of

   thirty (30) Defendants collectively referred to throughout the Complaint as the “Bad Actors.”

   The RICO claims allege that the Bad Actors engaged in a “pattern of racketeering activity

   consisting of numerous and repeated uses of the interstate mails and wire communications

   to execute a scheme to defraud . . . .” (Compl., ECF No. 1, ¶ 510.) However, the illegal

   activity allegedly engaged in by these Defendants is not set forth in Counts XXVII or

   XXVIII.11 The absence of specificity is particularly troublesome as to the claims against the

   Herischi Defendants where the Complaint alleges simply the provision of legal services to

   the inventors in connection with their immigration petitions. As the court noted in Bailey,

   a law firm’s drafting of documents sent to prospective investors based on information

   provided by the client company did not establish RICO liability even though the court found

   a massive fraud had been committed, and that investors had relied on the documents



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                  Nor is it discernable from allegations made elsewhere in the Complaint as
   the RICO counts incorporate by reference all 271 allegations contained in the Preliminary
   Allegations of the Complaint. It should not be the Defendants’ burden to sift through all
   271 general allegations in order to determine which allegations are relevant to the RICO
   count. Lynn v. Dickman, No. 8:14-cv-2063-T-36AEP, 2015 WL 102916, at *2 (M.D. Fla.
   Jan. 7, 2015). Such shotgun pleading is not permitted in the Eleventh Circuit. Id.

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   prepared by the law firm. Bailey, 938 F. Supp. at 831.

          Even if the Plaintiffs could overcome these pleading deficiencies, however, the

   RICO statute does not have extraterritorial reach.          RJR Nabisco, Inc. v. European

   Community, 136 S. Ct. 2090, 2105-06 (2016) (“[w]e conclude that § 1964(c) does not

   overcome the presumption against extraterritoriality.         A private RICO plaintiff must

   therefore allege and prove a domestic injury to its business or property. Thus a court need

   not reach the elements of RICO if the injury occurred outside of the United States.”)

          Here, the injury alleged was the “loss of their investments.” (Compl., ECF No. 1, ¶

   518.) The Plaintiffs do not allege that they ever stepped foot in the United States. Indeed,

   their claim is that they are not able to leave their respective countries to come to the United

   States because of the false information and representations that they allegedly received

   and relied upon while they were in their respective countries. (See e.g., Compl, ECF No.

   1, ¶ “over 80 foreigners are now unable to leave their respective countries and have lost

   their entire life savings.”) The injuries alleged here occurred in Iran (or in China) when the

   foreign investor acted on the alleged misrepresentations by wiring out their investment

   funds. No claim has been made that any of the funds for the investments came from any

   US bank accounts or other US related investment. As a result, the Plaintiffs’ RICO claims

   fail to state a cause of action and must be dismissed.

          E.     Alternative Motion for More Definite Statement.

          Alternatively, Rule 12(e) of the Federal Rules of Civil Procedure provides that “a

   party may move for a more definite statement of a pleading to which a responsive pleading

   is allowed but which is so vague or ambiguous that the party cannot reasonably prepare


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   a response.” As set out in detail above, because the Complaint contains no specific

   allegations with respect to the Herischi Defendants, it is impossible for these Defendants

   to formulate a responsive pleading to the Complaint as to the allegations made against

   each of them individually. At the very least, therefore, the Herischi Defendants are entitled

   to a more definite statement.

                                        III. CONCLUSION

          WHEREFORE for the foregoing reasons Defendants Ali Herischi and Herischi &

   Associates, LLC respectfully request that the Court enter an Order: (1) compelling

   arbitration in this case pursuant to the terms of the Engagement Agreement, or,

   alternatively enter an Order (2) dismissing the Plaintiffs’ Complaint for failure to state a

   claim, or (3) requiring a more definite statement; and (4) granting such additional relief as

   the Court deems just and proper.

                                               Respectfully submitted,



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                                  CERTIFICATE OF SERVICE

           I hereby certify that on this 23rd day of January, 2017, I electronically filed the
   foregoing document with the Clerk of the Court using CM/ECF. I also certify that the
   foregoing document is being served this day on all counsel of record or pro se parties
   identified on the attached Service List in the manner specified, either via transmission of
   Notices of Electronic Filing generated by CM/ECF or in some other authorized manner of
   those counsel or parties who are not authorized to receive electronically Notices of
   Electronic Filing.



                                                        s/ Alaina Fotiu-Wojtowicz
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